Case 1:21-cv-00722-MSN-IDD Document 36 Filed 11/29/21 Page 1 of 1 PageID# 252


                                                        FILED: November 29, 2021

                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                                  ___________________

                                    No. 21-2323
                              (1:21-cv-00722-LO-IDD)
                               ___________________

SIOBHAN MORROW, individually and on behalf of all others similarly situated;
TRACEE LE FLORE, individually and on behalf of all others similarly situated

              Plaintiffs - Appellants

v.

NAVY FEDERAL CREDIT UNION

              Defendant - Appellee


This case has been opened on appeal.

 Originating Court                        United States District Court for the
                                          Eastern District of Virginia at
                                          Alexandria
 Originating Case Number                  1:21-cv-00722-LO-IDD
 Date notice of appeal filed in           11/24/2021
 originating court:
 Appellant(s)                             Siobhan Morrow; Tracee Le Flore
 Appellate Case Number                    21-2323
 Case Manager                             Naeemah R. Sims
                                          804-916-2704
